Case 6:22-mc-00005

Pro Se 1 (Rev. 12/16) Complaint for a Civil Case

Document 1-2

Filed on 06/29/22 in TXSD

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UNITED STATES DISTRICT COURT

for the

Southern District of _Texas

Vic Wi Division

Charles E Lee

Plaintiff(s)
(Write the full name of each plaintiff who is filing this complaint.
If the names of all the plaintiffs cannot fit in the space above,
please write “see attached” in the space and attach an additional
page with the full list of names.)

-V-

AARON DEMERSON, TWC, COMMISSION APPEALS
TOFV LLC, TOYOTA OF VICTORIA

Defendant(s)
(Write the full name of each defendant who is being sued. If the
names of all the defendants cannot fit in the space above, please
write “see attached” in the space and attach an additional page
with the full list of names.)

Case No.

(to be filled in by the Clerk's Office)

Jury Trial: (check one) [V] ves [ }No

COMPLAINT FOR A CIVIL CASE

L The Parties to This Complaint
A. The Plaintiff(s)

Provide the information below for each plaintiff named in the complaint. Attach additional pages if

CHARLES E LEE

416 MARINER DRIVE

needed.
Name
Street Address
City and County VICTORIA
State and Zip Code TEXAS
Telephone Number

361-579-6885

E-mail Address

CHARLES.L0407@GMAIL.COM

B. The Defendant(s)

Provide the information below for each defendant named in the complaint, whether the defendant is an
individual, a government agency, an organization, or a corporation. For an individual defendant,
include the person's job or title (ifknown). Attach additional pages if needed.

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Defendant No. 1

Name

Job or Title (f known)
Street Address

City and County
State and Zip Code
Telephone Number

E-mail Address (if known)

Defendant No. 2

Name

Job or Title (if known)
Street Address

City and County

State and Zip Code
Telephone Number
E-mail Address (if known)

TWC _ AARON DEMERSON

COMMISSIONER REPRESENTING EMPLOYERS

101 EAST 15TH ST SUITE 608

AUSTIN

TEXAS 78778-0001

1-800-252-3749 or 512-463-2807

appeals@twc.texas.gov

TOFV, TOV, LLC THERESA GUTIERREZ MAHAN

HR MANAGER

5902 N NAVARRO ST

VICTORIA

TX 77904-1763

361-578-1505

theresag@toyotaofvictoria.com

Defendant No. 3

Name

_Job or Title (known)
Street Address
City and County
State and Zip Code

Telephone Number

E-mail Address (if known)

Defendant No. 4

Name

Job or Title (known)
Street Address

City and County
State and Zip Code

Telephone Number

E-mail Address (if known)

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II.

Basis for Jurisdiction

Federal courts are courts of limited jurisdiction (limited power). Generally, only two types of cases can be
heard in federal court: cases involving a federal question and cases involving diversity of citizenship of the
parties. Under 28 U.S.C. § 1331, a case arising under the United States Constitution or federal laws or treaties
is a federal question case. Under 28 U.S.C. § 1332, a case in which a citizen of one State sues a citizen of
another State or nation and the amount at stake is more than $75,000 is a diversity of citizenship case. Ina
diversity of citizenship case, no defendant may be a citizen of the same State as any plaintiff.

What is the basis for federal court jurisdiction? (check all that apply)
| ]Federal question VY] Diversity of citizenship

Fill out the paragraphs in this section that apply to this case.
A. If the Basis for Jurisdiction Is a Federal Question

List the specific federal statutes, federal treaties, and/or provisions of the United States Constitution that

are at issue in this case.
N/A

B. If the Basis for Jurisdiction Is Diversity of Citizenship
1. The Plaintiff(s)

a. If the plaintiff is an individual
The plamtiff, (name) Charles E Lee , is a citizen of the

State of (ame) Texas

b. If the plaintiff is a corporation

The plaintiff, (name) TWC Commission of Appeals , is incorporated
under the laws of the State of (name) Texas ;

and has its principal place of business in the State of (name)

Texas

(If more than one plaintiff is named in the complaint, attach an additional page providing the
same information for each additional plaintiff.)

2. The Defendant(s)

a. Lf the defendant is an individual
The defendant, (name) N/A , is a citizen of
the State of (name) N/A . Or is a citizen of

(foreign nation) NIA

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II.

b. If the defendant is a corporation
The defendant, (name) THERESA GUTIERREZ MAHAN , is incorporated under
the laws of the State of (name) TEXAS , and has its

principal place of business in the State of (name) TEXAS

Or is incorporated under the laws of (foreign nation) Nya

and has its principal place of business in (name) TOFV LLC

(If more than one defendant is named in the complaint, attach an additional page providing the
same information for each additional defendant.)

3. The Amount in Controversy

The amount in controversy—the amount the plaintiff claims the defendant owes or the amount at
stake—is more than $75,000, not counting interest and costs of court, because (explain):

UNPAID UNEMPLOYMENT BENEFITS 5600.00

PLUS PANDEMIC BENEFITS 4800.00

VACATION TIME 1500.00

SICK TIME AND LOST HOLIDAY PAY 3500.00 TOTAL $15,400.00

ANY OTHER MONETARY FUNDS FOR HARDSHIP AS DEEMED BY COURT

Statement of Claim

Write a short and plain statement of the claim. Do not make legal arguments. State as briefly as possible the
facts showing that each plaintiff is entitled to the damages or other relief sought. State how each defendant was
involved and what each defendant did that caused the plaintiff harm or violated the plaintiff's rights, including
the dates and places of that involvement or conduct. If more than one claim is asserted, number each claim and
write a short and plain statement of each claim in a separate paragraph. Attach additional pages if needed.

THE ACTION IS BROUGHT BY PETITIONER PURSUANT TO CHAPTER 212 OF THE TEXAS
UNEMPLOYMENT COMPENSATION ACT SUBCHAPTER E, AND CONCERNS THE DENIAL OF
UNEMPLOYMENT COMPENSATION BENEFITS TO PETITIONER. PETITIONER SHOWS THE COURT THAT
NO FILING FEE OR OTHER CHARGES MAY BE CHARGED BY THE COURT OR ANY OFFICER THEREOF
IN CONNECTION WITH THIS PROCEEDING, PURSUANT TO TEX.LABOR CODE ANN.$207.007.THE FINAL
DECISION WAS NOT SUPPORTED BY SUBSTANTIAL EVIDENCE. TWC DID NOT CONSIDER THE LAW OR
FACTS AND IT WAS UNREASONABLE, ARBITRARTY, AND CAPRICIOUS. TWC BASED DECISION ON

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Relief

State briefly and precisely what damages or other relief the plaintiff asks the court to order. Do not make legal
arguments. Include any basis for claiming that the wrongs alleged are continuing at the present time. Include
the amounts of any actual damages claimed for the acts alleged and the basis for these amounts. Include any
punitive or exemplary damages claimed, the amounts, and the reasons you claim you are entitled to actual or
punitive money damages.

(A)DENIED REQUEST OF COPY OF EMPLOYEE HANDBOOK REQUESTED (B) DENIED COPIES TO
ALLEGED INCIDENTS LEADING UP TO DISMISSAL. (C) DENIED OUTCOME OF INVESTIGATION
REQUESTED TO ADVOCATE TO KEEP EMPLOYMENT WHEN TERMINATED MAY 29, 2020. PETITIONER
HAS EXHAUSED ALL APPLEALS AND HEARINGS AT THIS SAID TIME. CHAPTER 212 TEXAS
UNEMPLOYMENT ACT SUBCHAPTER E STATES THAT A PARTY AGGRIEVED BY A FINAL DECISION OF
THE COMMISSION MAY OBTAIN JUDICIAL REVIEW OF THE DECISION BY BRINGING ACTION AGAINST
THE COMMISSION IN A COURT OF COMPETENT JURISDISCTION IN THE COUNTY OF CLAIMANT'S

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RESIDENCE FOR A TRIAL DE NOVO REVIEW OF DECISION.
WHEREFORE PETITIONER PRAYS THAT BOTH RESPONDENTS BY MADE TO THE COMMISSIONER OF
LABOR PURSUANT TO (B) THAT THE COURT SET UP A BRIEFING SCHEDULE AND
PUT THIS CASE ON A MOTION CALENDAR FOR ORAL ARGUMENTS (C) THAT THIS COURT REVIEW AND
REVERSE THE DECISION OF THE BOARD OF REVIEW, OR REMAND IT TO THE AGENCY AS IT DEEMS
APPROPRIATE AND (D) THAT THIS COURT GRANTS SUCH OTHER AND FURTHER RELIEF AND IT
DEEMS EQUITABLE AND JUST.

V. Certification and Closing

Under Federal Rule of Civil Procedure 11, by signing below, I certify to the best of my knowledge, information,
and belief that this complaint: (1) is not being presented for an improper purpose, such as to harass, cause
unnecessary delay, or needlessly increase the cost of litigation; (2) is supported by existing law or by a
nonfrivolous argument for extending, modifying, or reversing existing law; (3) the factual contentions have
evidentiary support or, if specifically so identified, will likely have evidentiary support after a reasonable
opportunity for further investigation or discovery; and (4) the complaint otherwise complies with the
requirements of Rule 11.

A. For Parties Without an Attorney
I agree to provide the Clerk’s Office with any changes to my address where case-related papers may be

served. I understand that my failure to keep a current address on file with the Clerk’s Office may result
in the dismissal of my case.

Date of signing: 06/29/2022

Signature of Plaintiff (pr Clb a Ce

Printed Name of Plaintiff CHARLES E LEE

B. For Attorneys

Date of signing: 06/29/2022

Signature of Attorney N/A

Printed Name of Attorney
Bar Number

Name of Law Firm
Street Address
State and Zip Code

Telephone Number
E-mail Address

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